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 5   Attorney for Plaintiff,
            PAUL BRIAN GIFFORD
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 8                                IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   PAUL BRIAN GIFFORD,                                   Case No. 2:22-cv-02093-CKD

12                   Plaintiff,                            STIPULATION AND ORDER RE
                                                           MODIFICATION OF SCHEDULING
13   v.                                                    ORDER

14   COMMISSIONER OF SOCIAL SECURITY,

15                   Defendant.

16             Subject to the approval and any further orders of the Court, the parties, by and through
17   counsel of record, stipulate and agree that the scheduling order for Social Security cases in this
18   action [ECF No. 5] should be modified. Plaintiff's time to move for summary judgment should be
19   extended from 5/13/2023 to 6/12/2023, all other deadlines to be determined by reference to the
20   Court's scheduling order, and that good cause supports the extension of time.

21             This is the parties first request for modification of the scheduling order. Good cause

22   supporting the extension of the filing deadline includes Plaintiff's counsel has been unable to

23   complete Plaintiff's motion for summary judgment to the professional standards of the Court,

24   requiring an extension to do so. This request is made jointly in good faith, without dilatory

25   motive, and not for purposes of undue delay or to prejudice the interest of any party.

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27   ////
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       Case 2:22-cv-02093-CKD Document 14 Filed 05/16/23 Page 2 of 2


 1          SO STIPULATED AND AGREED, May 12, 2023.
 2   WEEMS LAW OFFICES                       PHILLIP A. TALBERT,
                                               United States Attorney
 3                                           PETER K. THOMPSON
 4                                             Acting Regional Chief Counsel,
                                               Region IX, Soc. Sec. Admin
 5                                           ERIN HIGHLAND
                                               Sp. Asst. U.S. Attorney
 6
     /s/Robert C. Weems               By:    /s/Erin Highland
 7
     ROBERT C. WEEMS,                        ERIN HIGHLAND
 8   Attorney for Plaintiff                  Sp. Asst. U.S. Attorney,
                                             Attorney for Defendant
 9                                           (per email authorization)

10                                      ORDER

11   IT IS SO ORDERED.

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13   Dated: May 16, 2023
                                            _____________________________________
14                                          CAROLYN K. DELANEY
15                                          UNITED STATES MAGISTRATE JUDGE

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